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                       IN THE UNIFED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANL\


 In re:
 MURTY S. VEPURI,
 VARALAXMI VEPURI
                                                 CIVIL ACTION
                            Debtors,
                                                 NO. 09-CV-1901
 NATIONAL FERTILIZERS, LTD.

                      Plaintiff/Appellant,



 MURTY S. VEPURI
 VARALAXMI VEPURI

                   Defendants/Appellees

                                             ORDER

       AND NOW, this 31" day of March, 2010, upon consideration of PlaintiffAppellant

National Fertilizers, Ltd.'s appeal from the United States Bankruptcy Court for the Eastern

District of Pennsylvania's March 25, 2009 Order and all filings related thereto, it is hereby

ORDERED that the Order ofthe Bankruptcy Court is AFFIRMED.



                                                     BY THE COURT:


                                                     /s/Thomas M. Golden
                                                     THOMAS M. GOLDEN, J.




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